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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 15-1264V
                                    Filed: February 22, 2016
                                           Unpublished

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LINDA K. SCHUPP,                          *
                                          *
                      Petitioner,         *      Ruling on Entitlement; Concession;
                                          *      Influenza (“Flu”) vaccine; Shoulder
                                          *      Injury Related to Vaccine Administration
SECRETARY OF HEALTH                       *      (“SIRVA”); Special Processing Unit
AND HUMAN SERVICES,                       *      (“SPU”)
                                          *
                      Respondent.         *
                                          *
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Brian L. Cinelli, Marcus & Cinelli, LLP, Williamsville, NY, for petitioner.
Claudia Barnes Gangi, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT1

Dorsey, Chief Special Master:

        On October 27, 2015, Ms. Schupp filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 [the
“Vaccine Act”]. Petitioner alleged that she received a trivalent influenza (“flu”) vaccine in
her left arm on September 17, 2013, and subsequently suffered pain in her left shoulder
secondary to the vaccination. Petition at 1. The case was assigned to the Special
Processing Unit of the Office of Special Masters.

       On February 22, 2016, respondent filed her Rule 4(c) report in which she
concedes that petitioner is entitled to compensation in this case. Respondent’s Rule
4(c) Report at 1. Specifically, respondent states that compensation is appropriate in this
case Id. at 1. Respondent further agrees that petitioner’s injury is consistent with a
shoulder injury related to vaccine administration (SIRVA), that petitioner suffered her


1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012)(Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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condition for more than six months, and thus, petitioner has satisfied all legal
prerequisites for compensation under the Vaccine Act. Id.

     In view of respondent’s concession and the evidence before me, the
undersigned finds that petitioner is entitled to compensation.

IT IS SO ORDERED.

                                   s/Nora Beth Dorsey
                                   Nora Beth Dorsey
                                   Chief Special Master




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